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 8                             UNITED STATES DISTRICT COURT

 9                           NORTHERN DISTRICT OF CALIFORNIA

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11 EDUARDO ESCAMILLA AND LUISA                    ) Case No. 3:23-cv-3132
   CORDERO,                                       ) Judge: Hon. Lisa J. Cisneros
12                                                ) Courtroom: G
             Plaintiffs,                          )
13                                                )
   vs.                                            ) DEFENDANT’S NOTICE OF MOTION
14                                                ) AND MOTION TO DISMISS OR, IN
   ECHELON COMMUNITIES, LLC,                      ) THE ALTERNATIVE, TO QUASH
15           Defendants.                          ) SERVICE, PURSUANT TO RULE
                                                  )
16                                                ) 12(B)(5); MEMORANDUM OF POINTS
                                                  ) AND AUTHORITIES IN SUPPORT
17                                                ) THEREOF
                                                  )
18                                                ) Date:       October 19, 2023
                                                  ) Time:       1:30 p.m.
19                                                )
                                                    Courtroom: G
                                                  )
20                                                )
                                                  )
21                                                ) Action Filed: June 25, 2023
                                                  )
22                                                )
                                                  )
23

24         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
25         PLEASE TAKE NOTICE that on October 19, 2023 at 1:30 p.m., or as soon thereafter as
26 the matter may be heard, in Courtroom G, United States District Court, Phillip Burton Federal

27 Building located at 450 Golden Gate Avenue, 15th Floor, San Francisco, CA 94102, Defendant

28 Echelon Communities, LLC (“Defendant”) will move the Court pursuant to Federal Rule of Civil
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        DEFENDANT’S MOTION TO DISMISS OR, IN THE ALTERNATIVE, MOTION TO QUASH SERVICE
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 1 Procedure 12(b)(5) for an order dismissing Plaintiff’s Complaint or, in the alternative, quashing

 2 service of summons.

 3         Defendant hereby moves under Federal Rule of Civil Procedure 12(b)(5) for dismissal or,

 4 in the alternative, to quash service, based upon Plaintiff’s failure to serve Defendant in accordance

 5 with Federal Rule of Civil Procedure 4. The court lacks personal jurisdiction over Defendant

 6 because service was insufficient.

 7         The motion will be based upon this Notice, the attached Memorandum of Points and

 8 Authorities, the Declarations of John Preston and Chis C. Champman, the reply (if any), oral

 9 argument and the records and files in this action.

10

11 Dated: September 5, 2023                             RUDDEROW LAW GROUP

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13                                                      By: Chris C. Chapn1cm
                                                            Chris C. Chapman
14                                                          Attorneys for Defendant,
                                                            ECHELON COMMUNITIES, LLC
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 1                      MEMORANDUM OF POINTS AND AUTHORITIES

 2                                         INTRODUCTION

 3         Defendant Echelon Communities, LLC (“Defendant” or “Echelon”) moves to dismiss the

 4 Complaint, or in the alternative, to quash service pursuant to Rule 12(b)(5) on the grounds that

 5 Defendant was not properly served with the summons and complaint, and the Court therefore lacks

 6 personal jurisdiction over Defendant. Plaintiffs’ counsel has filed a proof of service which falsely

 7 indicates that summons was served on John Preston of Echelon. In fact, the summons and

 8 complaint were not personally served on Mr. Preston, and Echelon has not been legally served in

 9 any other manner.

10                                    FACTUAL BACKGROUND

11         On June 25, 2023, Plaintiffs Eduardo Escamilla and Luisa Cordero (“Plaintiffs”),

12 represented by attorney Evan Livingstone, filed this lawsuit against Echelon. (See docket entry

13 #1). Echelon is a California limited liability company that owns the mobilehome park known as

14 Sunset Park Community (the “Park”). Echelon’s agent for service of process is Holly Preston, at

15 1730 Pine St, Saint Helena, CA 94574. (See Declaration of John Preston (“Preston Decl.”) ¶ 2).

16 On August 9, 2023, attorney Livingston emailed defense counsel stating that he had

17 “unsuccessfully” attempted to serve Holly Preston because the process server could not find her

18 home. (See Declaration of Chris C. Chapman (“Chapman Decl.”) ¶ 2).

19         On August 14, 2023, John Preston was present at the Park when he witnessed Mr.

20 Livingston in the parking lot. (Preston Decl. ¶ 2). Mr. Preston was standing on the other side of

21 the road talking on his cell phone and not paying much attention. (Id.) Mr. Livingstone parked his

22 car, began walking toward John Preston, and then stopped in the middle of the street. (Id.) When

23 he was about 20 feet away from Mr. Preston, he threw some papers on the ground before getting

24 back into his car and driving away. (Id.) Mr. Livingston did not approach John Preston, did not

25 speak to him, and never attempted to hand him any documents. (Id. ¶¶ 3, 8). Mr. Preston did not

26 know what he had thrown on the ground and did not pick it up. (Id. ¶ 3).

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 1          That same day, Mr. Livingston emailed Echelon’s attorney stating that he had “personally

 2 served John Preston.” (Chapman Decl. ¶ 3). He also filed a proof of service attesting under the

 3 penalty of perjury that he had served the summons on John Preston. (Docket entry #9).

 4          John Preston only became aware of this lawsuit when Echelon’s attorney informed him of

 5 it. (Preston Decl. ¶ 4). At no point did he refuse to accept documents or decline to take documents

 6 offered to him by Mr. Livingstone, and, on August 14, 2023, he had no reason to believe that Mr.

 7 Livingstone was attempting to personally serve him with legal documents. (Id. ¶¶ 7-9).

 8                                         LEGAL STANDARD

 9          Federal Rule of Civil Procedure 12(b)(5) permits a party to challenge the sufficiency of

10 service of process. Fed. R. Civ. P. 12(b)(5). Rule 4 governs service of the summons and

11 complaint. See Fed. R. Civ. P. 4. Unless a defendant is served in accordance with Rule 4, a

12 federal court lacks personal jurisdiction over the defendant. Travelers Cas. & Sur. Co. of Am. v.

13 Brenneke, 551 F.3d 1132, 1135 (9th Cir. 2009).

14          Once service is challenged, the plaintiff bears the burden of establishing that service was

15 valid under Rule 4. Brockmeyer v. May, 383 F.3d 798, 801 (9th Cir. 2004). In resolving a Rule

16 12(b)(5) motion, the court may consider evidence outside the pleadings, Fairbank v. Underwood,

17 986 F. Supp. 2d 1222, 1228 (D. Or. 2013), and weigh and determine disputed issues of fact,

18 Cranford v. United States, 359 F. Supp. 2d 981, 984 (E.D. Cal. 2005). Where service of process is

19 insufficient, the district court has discretion to dismiss the action or to quash service. S.J. Issaquah

20 Sch. Dist. No. 411, 470 F.3d 1288, 1293 (9th Cir. 2006).

21                                              ARGUMENT

22      A. Service Under Federal Rule of Civil Procedure 4 and California Law

23          Under the Federal Rules of Civil Procedure, the plaintiff is responsible for having the

24 summons and complaint served. See Fed. R. Civ. Proc. 4(c). Rule 4(h) governs the specific

25 requirements for service of process on a corporation or limited liability company within a judicial

26 district. Fed. R. Civ. Proc. 4(h)(1); Van v. Black Angus Steakhouses, LLC, No. 5:17-CV-06329-

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 1 EJD, 2018 WL 2763330, at *2 (N.D. Cal. June 8, 2018) (“LLCs may also be served with process

 2 in the same way as corporations.”)

 3          Pursuant to Federal Rule of Civil Procedure 4, there are two ways to deliver a summons to

 4 a corporation or other unincorporated association: (i) in the same manner as permitted under state

 5 law; or (ii) by delivering a copy of the summons and of the complaint to an officer, a managing or

 6 general agent, or any other agent authorized by appointment or by law to receive service of process

 7 and––if the agent is one authorized by statute and the statute so requires––by also mailing a copy

 8 of each to the defendant. Fed. R. Civ. Proc. 4(h)(1); 4(e)(1).

 9          Under California law, a summons may be served on a corporation or limited liability

10 company by “delivering” a copy of the summons and complaint: (1) “[t]o the person designated as

11 agent for service of process” under the Corporations Code, Cal. Code Civ. Proc. § 416.10(a); (2)

12 “[t]o the president, chief executive officer, or other head of the corporation, a vice president, a

13 secretary or assistant secretary, a treasurer or assistant treasurer, a controller or chief financial

14 officer, a general manager, or a person authorized by the corporation to receive service of

15 process,” Cal. Code Civ. Proc. § 416.10(b); or (3) to an “agent of the corporation” or the California

16 Secretary of State, Cal. Code Civ. Proc. § 416.10(d).

17      B. Echelon Was Not Properly Served in Accordance with the Federal Rules or California

18          Law

19          Echelon requests dismissal on the basis that it was not properly served, and therefore, the

20 Court lacks personal jurisdiction over Echelon. Omni Capital Intern., Ltd. v. Rudolf Wolff & Co.,

21 Ltd. (1987) 484 U.S. 97, 104 (“Before a federal court may exercise personal jurisdiction over a

22 defendant, the procedural requirement of service of summons must be satisfied.”). Plaintiffs’

23 attorney did not serve Echelon in compliance with either federal or state law, and moreover,

24 misrepresented that he personally served John Preston.

25          On August 9, 2023, Plaintiffs’ counsel, Evan Livingstone admitted to defense counsel that

26 he had “tried unsuccessfully” to serve Echelon’s registered agent. (Chapman Decl. ¶ 2). He then

27 claimed to have served John Preston, on behalf of Echelon, by allegedly delivering him a copy of

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 1 the summons and complaint. Under both federal law and California law, the term “delivery” for

 2 purposes of service requires personal service. In re TFT-LCD (Flat Panel) Antitrust Litig., Nos. M

 3 07-1827 SI, C 09-1115 SI, 2009 WL 4874872, at *2 (N.D. Cal. 2009) (“Although the term

 4 ‘delivery’ under Rule 4(h)(1) is not expressly defined by the Federal Rules of Civil Procedure,

 5 ‘courts have determined that Rule 4 requires personal service.’”); Hunstock v. Estate Development

 6 Corp. (1943) 22 Cal.2d 205, 138 P.2d 1 (“Under the section authorizing service of summons on

 7 corporation by delivery of copy thereof to specified persons, the words ‘by delivering’ require

 8 personal service upon the designated persons.”).

 9         Plaintiffs’ attorney, Evan Livingstone, filed a proof of service attesting that he had served

10 summons on John Preston and emailed defense counsel claiming to have “personally served” Mr.

11 Preston on August 14, 2023 at the Park. (Chapman Decl. ¶ 3). The events that occurred at the

12 Park on August 14, 2023 do not constitute service on Mr. Preston.

13         On August 14, 2023, Plaintiffs’ attorney visited the Park and threw papers on the ground at

14 least 20 feet from John Preston, who was not paying attention, had no idea what the documents

15 were, and had no knowledge that Mr. Livingston was attempting to serve him with a lawsuit.

16 (Preston Decl. ¶¶ 3, 809). He did not even attempt to make in-hand service, nor did he attempt to

17 communicate to John Preston what the documents were. (Id. ¶¶ 3, 8). In Travelers Cas. and Sur.

18 Co. of America v. Brenneke (9th Cir. 2009) 551 F.3d 1132, 1136, the court discussed the issue of

19 whether service was sufficient when in-hand service was not effected:

20                 Sufficient service may be found where there is a good faith effort
                   to comply with the requirements of Rule 4(e)(2) which has resulted
21                 in placement of the summons and complaint within the defendant's
                   immediate proximity and further compliance with Rule 4(e)(2) is
22                 only prevented by the defendant’s knowing and intentional actions
                   to evade service.
23

24         Here, there was clearly no good-faith effort to comply with federal or state law regarding

25 service.    Mr. Livingstone did not place the documents within Mr. Preston’s “immediate

26 proximity.” Mr. Livingstone never approached Mr. Preston and never attempted to hand him any

27 documents. (Preston Decl. ¶ 8.) Mr. Preston did not refuse to accept delivery or attempt to evade

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 1 service, nor was he made aware of the nature of the documents. (Id. ¶¶ 6-9). Mr. Preston was

 2 never personally delivered a copy of the summons or complaint filed in this lawsuit. (Id. ¶ 5). Mr.

 3 Livingston’s actions fall far short of what is required to effect service under the Federal Rules, and

 4 his representation of these events as sufficient personal service is disingenuous.

 5          Plaintiffs seek to haul Echelon into court without having properly effectuated service.

 6 Neither actual notice, nor simply naming the person in the caption of the complaint, will subject

 7 defendants to personal jurisdiction if service was not made in substantial compliance with Rule 4.

 8 Jackson v. Hayakawa, 682 F.2d 1344, 1347 (9th Cir. 1982). Because Echelon was not properly

 9 served, the Court lacks personal jurisdiction over Echelon and should dismiss the case against

10 Echelon, or alternatively, quash service, pursuant to Rule 12(b)(5).

11                                            CONCLUSION

12          For all the foregoing reasons, Defendant respectfully request the Court grant the motion

13 and dismiss the action for lack of jurisdiction, or alternative, to quash the alleged service on the

14 grounds that the requirements for service of the summons and the complaint on Defendant were

15 not met.

16 Dated: September 5, 2023                          RUDDEROW LAW GROUP

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18                                                   By: Chris C. Chap111a11
                                                         Chris C. Chapman
19                                                       Attorneys for Defendant,
                                                         ECHELON COMMUNITIES, LLC
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 1                                         PROOF OF SERVICE

 2                           ESCAMILLA, ET AL. V. ECHELON COMMUNITIES, LLC
                                          CASE NO. 3:23-CV-3132
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 4 STATE OF CALIFORNIA, COUNTY OF ORANGE

 5       I am employed in the County of Orange, State of California. I am over the age of 18 years
   and am not a party to the within action. My business address is 1301 Dove Street, Suite 800,
 6
   Newport Beach, CA 92660. On September 5, 2023, I caused the foregoing document(s) described
 7 as DEFENDANT’S MOTION TO DISMISS OR, IN THE ALTERNATIVE, MOTION TO
   QUASH SERVICE
 8

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            to be served on the interested parties in this action as follows:
10
     □ Bybelow
     stated
            placing
                  or
                        the original
                         by sending a□
                                       a true copy thereof enclosed in sealed envelopes addressed as
                                     copy as stated and addressed below:
11

12                                   SEE ATTACHED SERVICE LIST

13
           BY ELECTRONIC SERVICE. I certify that I electronically filed the foregoing with the
14 Clerk of the Court for the United States District Court, Central Division of California, by using the
   CM/ECF system. I certify that all participants in the case are registered CM/ECF users and that
15 service will be accomplished by the CM/ECF system.

16
           [Federal]       I declare under penalty of perjury under the laws of the State of California
17 that the foregoing is true and correct.

18
            Executed on September 5, 2023, at Newport Beach, California.
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20
                                                           Grace Bracamonte
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                                              PROOF OF SERVICE
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 1                                          SERVICE LIST
                             Escamilla, et al. v. Echelon Communities, LLC
 2                                       Case No. 3:23-cv-3132

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     Eduardo Escamilla and Luisa Cordero
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